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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


                                                     No. 03-MDL-1570 (GBD) (SN)
In re TERRORIST ATTACKS ON
SEPTEMBER 11, 2001




                             DECLARATION OF ERIC R. NITZ

       Pursuant to 28 U.S.C. § 1746, ERIC R. NITZ declares as follows:

       1.      I am a partner at MoloLamken LLP and represent defendant Dallah Avco Trans

Arabia Co., now known as Dallah Trans Arabia Co. (“Dallah Avco”), in this action. I submit

this declaration in support of Dallah Avco’s renewed motion to dismiss or, in the alternative, for

summary judgment.

       2.      Attached as Exhibit 1 is a true and correct copy of the expert report of Dr. Adli A.

Hammad, dated March 31, 2022.

       3.      Attached as Exhibit 2 is a true and correct copy of excerpts from the deposition of

Dallah Avco’s corporate representative, Ammar Kamel, taken on January 24, 2019.

       4.      Attached as Exhibit 3 is a true and correct copy of excerpts from the deposition of

Jaber Khalifa, taken on September 20, 2018.

       5.      Attached as Exhibit 4 is a true and correct copy of excerpts from the deposition of

Riaz Khan, taken on January 23, 2019.

       6.      Attached as Exhibit 5 is a true and correct copy of excerpts from the deposition of

Abdulaziz Abdul Kareem Al Angari, taken on January 13-14, 2021.
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       7.     Attached as Exhibit 6 is a true and correct copy of excerpts from the deposition of

Omar Al Bayoumi, taken on June 9-11, 2021, with FBI-protected content redacted.

       8.     Attached as Exhibit 7 is a true and correct copy of excerpts from the deposition of

Samuel G. Coombs, taken on June 22, 2021, with FBI-protected content redacted.

       9.     Attached as Exhibit 8 is a true and correct copy of the Declaration of Samuel G.

Coombs, dated January 25, 2021.

       10.    Attached as Exhibit 9 is a true and correct copy of the Declaration of Abdullah

Yamani, dated May 22, 2016, with exhibits omitted.

       11.    Attached as Exhibit 10 are true and correct copies of excerpts from Air

Navigation System Support contract documents produced by the Kingdom of Saudi Arabia

(“Saudi Arabia”) in this action with Bates numbers KSA0000002070-218, KSA0000002266-90,

and KSA0000002308-27.

       12.    Attached as Exhibit 11 are true and correct copies of excerpts from Air

Navigation System Support contract documents produced by Saudi Arabia in this action

with Bates numbers KSA0000002969-3009, KSA0000003021-84, KSA0000003239-63, and

KSA0000003319-74.

       13.    Attached as Exhibit 12 are true and correct copies of excerpts from Air

Navigation System Support contract documents produced by Dallah Avco in this action with

Bates numbers DA001358-98, DA001409-73, and DA001548-626.

       14.    Attached as Exhibit 13 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA000044 and a certified translation.

       15.    Attached as Exhibit 14 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA000082.




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       16.    Attached as Exhibit 15 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates numbers DA000089-90 and a certified translation.

       17.    Attached as Exhibit 16 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA000091 and a certified translation.

       18.    Attached as Exhibit 17 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates numbers DA000092-93 and a certified translation.

       19.    Attached as Exhibit 18 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA000097.

       20.    Attached as Exhibit 19 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA000098.

       21.    Attached as Exhibit 20 are true and correct copies of documents produced by

Dallah Avco in this action with Bates numbers DA000457-517 and DA001022.

       22.    Attached as Exhibit 21 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA000548 and a certified translation.

       23.    Attached as Exhibit 22 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA000552 and a certified translation.

       24.    Attached as Exhibit 23 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA000600.

       25.    Attached as Exhibit 24 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates numbers DA000601-02.

       26.    Attached as Exhibit 25 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA000603.




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       27.     Attached as Exhibit 26 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA000899, with a corporate identification number

redacted, and a certified translation.

       28.     Attached as Exhibit 27 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA001016.

       29.     Attached as Exhibit 28 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA001062 and a certified translation.

       30.     Attached as Exhibit 29 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA001063.

       31.     Attached as Exhibit 30 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA001070 and a certified translation.

       32.     Attached as Exhibit 31 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA001102 and a certified translation.

       33.     Attached as Exhibit 32 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA001104 and a certified translation.

       34.     Attached as Exhibit 33 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates numbers DA001105-06.

       35.     Attached as Exhibit 34 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA001110 and a certified translation.

       36.     Attached as Exhibit 35 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA001119 and a certified translation.

       37.     Attached as Exhibit 36 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA001120 and a certified translation.




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       38.    Attached as Exhibit 37 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA001132 and a certified translation.

       39.    Attached as Exhibit 38 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA001134 and a certified translation.

       40.    Attached as Exhibit 39 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA001239.

       41.    Attached as Exhibit 40 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA001477.

       42.    Attached as Exhibit 41 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA001916.

       43.    Attached as Exhibit 42 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA001918.

       44.    Attached as Exhibit 43 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA001919.

       45.    Attached as Exhibit 44 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA001930.

       46.    Attached as Exhibit 45 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA001990 and a certified translation.

       47.    Attached as Exhibit 46 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates numbers DA002001-03.

       48.    Attached as Exhibit 47 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA002075.

       49.    Attached as Exhibit 48 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA002085.

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       50.    Attached as Exhibit 49 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates numbers DA002261-63.

       51.    Attached as Exhibit 50 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA002267.

       52.    Attached as Exhibit 51 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA002312.

       53.    Attached as Exhibit 52 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates numbers DA008623-25 and a certified translation.

       54.    Attached as Exhibit 53 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates numbers DA009230-31 and a certified translation.

       55.    Attached as Exhibit 54 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA009292 and a certified translation.

       56.    Attached as Exhibit 55 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA009294 and a certified translation.

       57.    Attached as Exhibit 56 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA010334-46, with a financial account number

redacted.

       58.    Attached as Exhibit 57 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA010695-722.

       59.    Attached as Exhibit 58 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA010731-33.

       60.    Attached as Exhibit 59 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA010841.




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       61.     Attached as Exhibit 60 is a true and correct copy of a document produced by

Dallah Avco in this action with Bates number DA010915.

       62.     Attached as Exhibit 61 is a true and correct copy of a document produced by

Saudi Arabia in this action with Bates number KSA0000000629, with personal identification

numbers and birth date information redacted, and a certified translation.

       63.     Attached as Exhibit 62 is a true and correct copy of a document produced by

Saudi Arabia in this action with Bates number KSA0000000724.

       64.     Attached as Exhibit 63 is a true and correct copy of a document produced by

Saudi Arabia in this action with Bates number KSA0000000725.

       65.     Attached as Exhibit 64 is a true and correct copy of a document produced by

Saudi Arabia in this action with Bates number KSA0000000726.

       66.     Attached as Exhibit 65 is a true and correct copy of a document produced by

Saudi Arabia in this action with Bates numbers KSA0000000734-37.

       67.     Attached as Exhibit 66 is a true and correct copy of a document produced by

Saudi Arabia in this action with Bates number KSA0000000894 and a certified translation.

       68.     Attached as Exhibit 67 is a true and correct copy of a document produced by

Saudi Arabia in this action with Bates numbers KSA0000000895-98 and a certified translation.

       69.     Attached as Exhibit 68 is a true and correct copy of a document produced by

Saudi Arabia in this action with Bates number KSA0000000901 and a certified translation.

       70.     Attached as Exhibit 69 is a true and correct copy of a document produced by

Saudi Arabia in this action with Bates number KSA0000000902 and a certified translation.

       71.     Attached as Exhibit 70 is a true and correct copy of a document produced by

Saudi Arabia in this action with Bates number KSA0000000907 and a certified translation.




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        72.     Attached as Exhibit 71 is a true and correct copy of a document produced by

Saudi Arabia in this action with Bates numbers KSA0000000936-37 and a certified translation.

        73.     Attached as Exhibit 72 is a true and correct copy of a document produced by

Saudi Arabia in this action with Bates number KSA0000000989 and a certified translation.

        74.     Attached as Exhibit 73 is a true and correct copy of a document produced by

Saudi Arabia in this action with Bates numbers KSA0000001032-33 and a certified translation.

        75.     Attached as Exhibit 74 is a true and correct copy of a document produced by

Saudi Arabia in this action with Bates number KSA0000001040-41 and a certified translation.

        76.     Attached as Exhibit 75 is a true and correct copy of a document produced by

Saudi Arabia in this action with Bates number KSA0000001046 and a certified translation.

        77.     Attached as Exhibit 76 is a true and correct copy of a document produced by

Saudi Arabia in this action with Bates number KSA0000001835.

        78.     Attached as Exhibit 77 is a true and correct copy of a document produced by

Saudi Arabia in this action with Bates number KSA0000003168.

        79.     Attached as Exhibit 78 is a true and correct copy of a document produced by

Saudi Arabia in this action with Bates number KSA0000004515 and a certified translation.

        80.     Attached as Exhibit 79 is a true and correct copy of excerpts from a document

produced by Saudi Arabia in this action with Bates numbers KSA0000007996 and

KSA0000008000, with personal identification numbers and birth date information redacted, and

a certified translation.

        81.     Attached as Exhibit 80 are true and correct copies of documents produced by

plaintiffs in this action with Bates numbers FED-PEC0306489-500 and FED-PEC0306504.

        82.     Attached as Exhibit 81 is a true and correct copy of a document produced by

plaintiffs in this action with Bates number FED-PEC0306527.

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       83.    Attached as Exhibit 82 is a true and correct copy of a document produced by

plaintiffs in this action with Bates numbers PEC-KSA1-000035-36.

       84.    Attached as Exhibit 83 is a true and correct copy of a document produced by

plaintiffs in this action with Bates numbers PEC-KSA1-000044-47, with a personal identification

number and birth date information redacted.

       85.    Attached as Exhibit 84 is a true and correct copy of a document produced by

plaintiffs in this action with Bates number PEC-KSA1-000061.

       86.    Attached as Exhibit 85 is a true and correct copy of a document produced by

plaintiffs in this action with Bates numbers PEC-KSA1-000067-70, with a personal identification

number redacted in the produced version.

       87.    Attached as Exhibit 86 is a true and correct copy of a document produced by

plaintiffs in this action with Bates numbers PEC-KSA1-000071-83.

       88.    Attached as Exhibit 87 is a true and correct copy of page 178 of a document

produced by the London Metropolitan Police Service in this action with identification number

727 – D0951-X0352 and a certified translation.

       89.    Attached as Exhibit 88 is a true and correct copy of page 176 of a document

produced by the London Metropolitan Police Service in this action with identification number

727 – D0951-X0352.

       90.    Attached as Exhibit 89 is a true and correct copy of page 145 of a document

produced by the London Metropolitan Police Service in this action with identification number

727 – D0951-X0352 and a certified translation.

       91.    Attached as Exhibit 90 are true and correct copies of pages 320 and 324 of a

document produced by the London Metropolitan Police Service in this action with identification

number 732 – D0883-X0361.

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       92.     Attached as Exhibit 91 is a true and correct copy of Article 28 of the Executive

Regulations of the Saudi Civil Service Law and a certified translation, marked as Angari

Deposition Exhibit 396.

       93.     Attached as Exhibit 92 is a true and correct copy of a Memorandum for the

Record concerning Omar Al Bayoumi’s October 16-17, 2003 interview with staff from the 9/11

Commission, marked as Al Bayoumi Deposition Exhibit 708.

       94.     Attached as Exhibit 93 is a true and correct copy of a document produced by

Bank of America in this action with Bates number BANA ALB 0004, with a financial account

number redacted.

       95.     Attached as Exhibit 94 is a true and correct copy of an excerpt from the transcript

of the July 30, 2015 hearing in this case.

       96.     Attached as Exhibit 95 is a true and correct copy of the Declaration of Abdullah

Yamani, dated October 4, 2023, authenticating and certifying certain documents produced by

Dallah Avco in this action.

       97.     Attached as Exhibit 96 is a true and correct copy of a claim chart that I prepared

based on pleadings previously filed in this action or related cases showing claims asserted

against Dallah Avco.



       I declare under penalty of perjury that the foregoing is true and correct.




Executed on: October 6, 2023
Washington, D.C.                                             Eric R. Nitz




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